                     IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-25

                                    Nos. 248A20 and 249A20

                                       Filed 19 March 2021

     IN THE MATTER OF: G.G.M., S.M.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from orders entered on 9 March

     2020 by Judge Christy E. Wilhelm in District Court, Cabarrus County. This matter

     was calendared for argument in the Supreme Court on 11 February 2021 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


           Seth B. Weinshenker for petitioner-appellees.

           Ashley A. Crowder for respondent-appellant father.


           EARLS, Justice.

¶1         Respondent, the father of G.G.M. (George) and S.M. (Sarah)1, appeals from the

     trial court’s orders terminating his parental rights on the grounds of neglect and

     willful abandonment. Because we hold the trial court did not err in concluding that

     grounds existed to terminate respondent’s parental rights based on willful

     abandonment and that termination of his parental rights was in the children’s best

     interests, we affirm the trial court’s orders.

¶2         Petitioners are the maternal grandmother and step-grandfather of George and


           1 Pseudonyms are used to protect the juveniles’ identities and for ease of reading.
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     Sarah. Respondent and the children’s mother met in high school. They were living

     together when George was born in May 2008 but they were never married. The

     parents’ relationship ended in February 2009, and the mother and George moved in

     with petitioners. The mother was pregnant with Sarah at the time.

¶3         The parents initiated a Chapter 50 custody action, and in an order filed on 6

     April 2010, the mother was granted primary custody of George with respondent

     having scheduled visitation. In a Temporary Order Modifying Visitation filed on 20

     August 2010, the trial court modified respondent’s visitation to allow only for

     supervised visits.

¶4         The mother moved out of petitioners’ home with the children in October 2010.

     However, the mother had financial issues, and in October 2011 the children went to

     live with petitioners until the mother could improve her situation. The children have

     resided with petitioners ever since.

¶5         On 17 March 2011, the mother filed a petition to terminate respondent’s

     parental rights to George. In an order filed on 9 December 2011, the trial court found

     grounds to terminate respondent’s parental rights based on neglect and his willful

     failure to pay a reasonable portion of the cost of care for George but did not find that

     it was in George’s best interests to terminate respondent’s parental rights.

     Accordingly, the trial court did not terminate his parental rights at that time.

¶6         In November 2013, shots were fired into respondent’s home while he was inside
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     with his now fiancée. No one was injured, and the perpetrator was never caught. On

     the morning of 27 December 2013, respondent was shot multiple times while on his

     way to work. The perpetrators were never identified. After he was released from the

     hospital, respondent lived with his aunt in Atlanta, Georgia, for a few months before

     coming back to North Carolina, where he has remained.

¶7         Respondent did not have any contact with the children after he was released

     from the hospital in late December 2013 until 30 June 2019 when he came to

     petitioners’ home with two police officers without any prior arrangement or notice

     that he was coming. The reason for his visit on 30 June 2019 was that he learned that

     the Cabarrus County Department of Human Services (“DHS”) had opened an

     investigation of the mother for alleged physical abuse of George and Sarah. George

     came outside of the home, gave his father a hug, and spoke with him briefly, but

     petitioners did not allow respondent to take either child with him. In response to

     respondent’s unannounced visit, petitioners obtained an Ex Parte Custody Order on

     3 July 2019 which maintained physical custody with petitioners and ordered

     respondent to have no contact with the children.

¶8         Approximately one week after his 30 June 2019 visit, respondent again came

     to petitioners’ home with a law enforcement officer and sought to take the children.

     Petitioners showed the officer the Ex Parte Custody Order, and respondent left the

     home without seeing either child.
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¶9           On 16 July 2019, petitioners filed petitions seeking to terminate respondent’s

       parental rights to George and Sarah on the grounds of neglect and willful

       abandonment. See N.C.G.S. § 7B-1111(a)(1), (7) (2019). On 15 August 2019,

       respondent filed an answer opposing the termination of his parental rights. Following

       a hearing held on 10 February 2020, the trial court entered orders on 9 March 2020

       concluding that respondent’s parental rights were subject to termination on both

       grounds alleged in the petitions and that termination of respondent’s parental rights

       was in George’s and Sarah’s best interests. Accordingly, the trial court terminated

       respondent’s parental rights. Respondent appealed from both orders. On 9 June 2020,

       respondent filed a motion seeking to consolidate the appeals from the trial court’s

       orders terminating his parental rights. We allowed the motion on 10 June 2020 and

       consolidated the cases for appeal.

                               I.   Adjudication Stage Issues

¶ 10         Respondent argues the trial court erred by concluding that grounds existed to

       terminate his parental rights based on neglect and willful abandonment. We review

       a trial court’s adjudication that grounds exist to terminate parental rights “to

       determine whether the findings are supported by clear, cogent and convincing

       evidence and the findings support the conclusions of law.” In re E.H.P., 372 N.C. 388,

       392 (2019) (quoting In re Montgomery, 311 N.C. 101, 111 (1984)). “Findings of fact not

       challenged by respondent are deemed supported by competent evidence and are
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       binding on appeal.” In re T.N.H., 372 N.C. 403, 407 (2019) (citing Koufman v.

       Koufman, 330 N.C. 93, 97 (1991)). “Moreover, we review only those findings necessary

       to support the trial court’s determination that grounds existed to terminate

       respondent’s parental rights.” In re T.N.H., 372 N.C. at 407 (citing In re Moore, 306

       N.C. 394, 404 (1982)). “The trial court’s conclusions of law are reviewable de novo on

       appeal.” In re C.B.C., 373 N.C. 16, 19 (2019). “[A] finding of only one ground is

       necessary to support a termination of parental rights . . . .” In re A.R.A., 373 N.C. 190,

       194 (2019).

¶ 11         A trial court may terminate a parent’s parental rights when “[t]he parent has

       willfully abandoned the juvenile for at least six consecutive months immediately

       preceding the filing of the petition or motion.” N.C.G.S. § 7B-1111(a)(7).

       “Abandonment implies conduct on the part of the parent which manifests a willful

       determination to forego all parental duties and relinquish all parental claims to the

       child.” In re Young, 346 N.C. 244, 251 (1997) (quoting In re Adoption of Searle, 82

       N.C. App. 273, 275 (1986)). “[I]f a parent withholds his presence, his love, his care,

       the opportunity to display filial affection, and wil[l]fully neglects to lend support and

       maintenance, such parent relinquishes all parental claims and abandons the child.”

       Pratt v. Bishop, 257 N.C. 486, 501 (1962).

¶ 12         “Whether a biological parent has a willful intent to abandon his child is a

       question of fact to be determined from the evidence.” In re B.C.B., 374 N.C. 32, 35
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       (2020) (quoting In re Adoption of Searle, 82 N.C. App. at 276). “[A]lthough the trial

       court may consider a parent’s conduct outside the six-month window in evaluating a

       parent’s credibility and intentions, the ‘determinative’ period for adjudicating willful

       abandonment is the six consecutive months preceding the filing of the petition.” In re

       N.D.A., 373 N.C. 71, 77 (2019) (quoting In re D.E.M., 257 N.C. App. 618, 619 (2018)).

¶ 13         In this case respondent’s relevant conduct is essentially the same as it relates

       to each child. The trial court’s findings of fact supporting its adjudications are

       essentially identical in each termination order, other than the juvenile’s name. To

       examine the relevant matters pertaining to the adjudication of grounds involving

       both children, the discussion below refers to the findings of fact and conclusions of

       law as enumerated in the trial court’s termination order entered in George’s case but

       is equally applicable to Sarah.

¶ 14         Respondent first challenges finding of fact 16 as not being supported by the

       evidence. In finding of fact 16, the trial court found:

                    Pursuant to [N.C.G.S. §] 7B-1111(a)(7), the Respondent
                    has willfully abandoned the minor child . . . for a period of
                    time of at least six months prior to the filing of Petitioners’
                    Petition to Terminate the Parental Rights of the
                    Respondent on July 16, 2019. The Findings of Fact above
                    show that Respondent has willfully neglected and refused
                    to perform the natural and legal obligations of parental
                    care, support and maintenance for the minor child. The
                    Findings of Fact above show that Respondent has willfully
                    withheld his presence, his love, his care for the minor child,
                    and the opportunity to display filial affection. The Findings
                    of Fact above show that Respondent has shown a purpose
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                    and deliberation in his intent to abandon the minor child.
                    The Findings of Fact above show that Respondent has
                    willfully abdicated his parental role to the Petitioners since
                    October 2011. This finding of willful abandonment is made
                    by clear, cogent and convincing evidence.

¶ 15         Respondent acknowledges that he had no contact with the children from late

       December 2013 until 30 June 2019. However, respondent argues that his actions do

       not amount to willful abandonment because he “had neither the deliberate intent nor

       purpose to abandon the minor children.” Respondent points to his testimony that his

       lack of contact with the children during the five and one-half year period was due to

       his fear for his safety and the safety of his children after he was injured in an unsolved

       shooting in December 2013. Respondent argues that he had a reasonable belief that

       the mother and her associates were the perpetrators of the shooting “given the tense

       nature of the relationship between [the m]other and [respondent]” and that the

       shooting was in “direct retaliation for his seeking to modify the Temporary Custody

       Order for the minor children.” He argues that it was due to this “grave concern” that

       he did not seek visitation with the children following his release from the hospital.

       Therefore, he argues that finding of fact 16 was not supported by clear, cogent, and

       convincing evidence, and as a result, the trial court erred in concluding that grounds

       existed based on willful abandonment.

¶ 16         The trial court’s findings of fact establish that respondent “made no attempt

       whatsoever to contact” the children or to participate in the children’s lives from late
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       December 2013 through 30 June 2019, a period of over five years. The trial court

       found that respondent did not send any cards or letters to the children or petitioners,

       did not send any gifts, did not purchase clothing or other items for the children, and

       did not provide any financial assistance to petitioners for the children’s benefit. The

       trial court found that respondent knew where petitioners lived but did not attempt to

       see the children from late December 2013 to 30 June 2019. The trial court also found

       that petitioners maintained the same phone number and email address since 2013;

       however, respondent never asked them for this information in order to contact the

       children. The trial court’s findings indicate that, from December 2013 until the filing

       of the petition to terminate his parental rights in July 2019, respondent failed to

       provide support and maintenance, did not write or call his children, did not send them

       gifts, and did not otherwise act as a parent. These findings demonstrate that

       respondent “willfully withheld his love, care, and affection from [the children] and

       that his conduct during the determinative six-month period constituted willful

       abandonment.” In re C.B.C., 373 N.C. at 23.

¶ 17         Respondent contends that his lack of contact for the five and one-half year

       period following the December 2013 shooting was not “wholly inconsistent with a

       desire to maintain custody of the minor children.” He argues that he “had neither the

       deliberate intent nor purpose to abandon the minor children” but rather “made a

       choice, albeit a very difficult and sacrificial choice, to keep his children safe and free
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       from the fear of harm.” Respondent relies on his testimony that he did not seek

       custody or visitation after being released from the hospital following the December

       2013 shooting due to his fear for his safety and the safety of the children. He contends

       the trial court “did not doubt the veracity or credibility” of his testimony. Thus, he

       argues the evidence did not demonstrate that he willfully abandoned the children.

¶ 18          However, in reviewing a trial court’s adjudication of grounds to terminate

       parental rights, our review is limited to “whether the findings are supported by clear,

       cogent and convincing evidence and the findings support the conclusions of law.” In

       re C.B.C., 373 N.C. at 19 (quoting In re Montgomery, 311 N.C. at 111). It is the trial

       court’s “responsibility to ‘pass[ ] upon the credibility of the witnesses and the weight

       to be given their testimony and the reasonable inferences to be drawn therefrom.’ ”

       In re A.R.A., 373 N.C. at 196 (alteration in original) (quoting In re D.L.W., 368 N.C.

       835, 843 (2016)). Because “the trial court is uniquely situated to make this credibility

       determination . . . appellate courts may not reweigh the underlying evidence

       presented at trial.” In re J.A.M., 372 N.C. 1, 11 (2019).

¶ 19          Here, the trial court weighed the evidence and ultimately determined that

       respondent’s conduct during the determinative period showed his willful intention to

       abandon the children. See In re K.N.K., 374 N.C. 50, 53 (2020) (“The willfulness of a

       parent’s actions is a question of fact for the trial court.”). The trial court made specific

       findings regarding the two shootings in November and December 2013. Specifically,
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       regarding the December shooting, the trial court found that

                    [o]n December 27, 2013 the Respondent was shot with a
                    firearm several times while on his way to work at
                    approximately 7:00 a.m. The unidentified perpetrators
                    were never caught. After getting out of the hospital,
                    Respondent went to live with his Aunt in Atlanta, Georgia
                    for a few months in 2014, and then came back to North
                    Carolina. However, the Respondent did not attempt to
                    contact the minor child[ren], or to re-establish his
                    relationship with the minor child[ren] upon his return from
                    Georgia.

       This finding, along with the trial court’s other findings, demonstrates that the trial

       court acknowledged that respondent had been injured in an unsolved shooting but

       ultimately determined that his failure to contact the minor children upon his return

       to North Carolina was willful and that his conduct during the determinative period

       constituted willful abandonment.

¶ 20         We hold the trial court’s findings of fact support its ultimate finding and

       conclusion that respondent willfully abandoned the children. The trial court’s

       findings demonstrate that respondent had no contact with the children for a period

       of over five years prior to the filing of the termination petition on 16 July 2019, with

       the exception of one brief interaction with one of the children. The trial court’s

       findings also demonstrate that respondent provided no support to the children and

       withheld his love, care, and affection from the children. The trial court was entitled

       to consider respondent’s years-long absence from the children’s lives when

       determining respondent’s credibility and intent to abandon his children during the
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       six months preceding the filing of the petition. See In re N.D.A., 373 N.C. at 77.

       Therefore, the trial court did not err by concluding that grounds existed to terminate

       respondent’s parental rights pursuant to N.C.G.S. § 7B-1111(a)(7).

                                II.   Disposition Stage Issues

¶ 21         Respondent also challenges the trial court’s conclusions that it was in George’s

       and Sarah’s best interests to terminate his parental rights.

¶ 22         At the dispositional stage of a termination proceeding, the trial court must

       “determine whether terminating the parent’s rights is in the juvenile’s best interest.”

       N.C.G.S. § 7B-1110(a) (2019). In doing so, the trial court

                    may consider any evidence, including hearsay evidence as
                    defined in [N.C.G.S. §] 8C-1, Rule 801, that the court finds
                    to be relevant, reliable, and necessary to determine the
                    best interests of the juvenile. In each case, the court shall
                    consider the following criteria and make written findings
                    regarding the following that are relevant:

                    (1) The age of the juvenile.

                    (2) The likelihood of adoption of the juvenile.

                    (3) Whether the termination of parental rights will aid in
                        the accomplishment of the permanent plan for the
                        juvenile.

                    (4) The bond between the juvenile and the parent.

                    (5) The quality of the relationship between the juvenile and
                        the proposed adoptive parent, guardian, custodian, or
                        other permanent placement.

                    (6) Any relevant consideration.
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       Id. Although the trial court must consider each of the factors in N.C.G.S. § 7B-

       1110(a), written findings of fact are required only “if there is conflicting evidence

       concerning the factor, such that it is placed in issue by virtue of the evidence

       presented before the district court.” In re A.R.A., 373 N.C. at 199 (cleaned up) (quoting

       In re H.D., 239 N.C. App. 318, 327 (2015)).

¶ 23         “The trial court’s dispositional findings are binding on appeal if supported by

       any competent evidence. The trial court’s determination of a child’s best interests

       under N.C.G.S. § 7B-1110(a) is reviewed only for abuse of discretion.” In re J.S., 374

       N.C. 811, 822 (2020) (citations omitted). “An abuse of discretion is a decision

       manifestly unsupported by reason or one so arbitrary that it could not have been the

       result of a reasoned decision.” In re K.N.K., 374 N.C. at 57.

¶ 24         Respondent does not challenge the trial court’s findings regarding the

       children’s ages and concedes that subsection (a)(3) is not applicable in this case

       because DHS is not involved and, therefore, there is no permanent plan for the

       children. Respondent does challenge the trial court’s other dispositional findings of

       fact as not being supported by competent evidence.

¶ 25         Respondent first challenges finding of fact 18(2) regarding the children’s

       likelihood of adoption. In both orders the trial court found the following: “Though

       there was no testimony regarding adoption, the [c]ourt takes judicial notice that there

       is a pending custody action by the Petitioners, in which they are seeking custody of
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       the two minor children, [George and Sarah], from both the Respondent and the

       biological mother . . . .” Respondent contends this finding is not supported by

       competent evidence because there is no evidence in the record that petitioners are

       seeking adoption and “nothing in the record to support any likelihood of adoption of

       either minor child.” However, the trial court did not find that there was a likelihood

       of adoption. Rather, the trial court recognized that no evidence was presented

       regarding adoption and took judicial notice of the pending civil custody action filed

       by petitioners seeking custody of the children. This finding is supported by competent

       evidence. The trial court is not required to find a likelihood of adoption in order for

       termination to be in a child’s best interests. See In re M.M., 200 N.C. App. 248, 258
       (2009), (“[N]othing within [N.C.G.S.] § 7B-1110 . . . requires that termination lead to

       adoption in order for termination to be in a child’s best interests.”), disc. review

       denied, 364 N.C. 241 (2010).

¶ 26         Respondent next argues that finding of fact 18(4) regarding the children’s bond

       with respondent is not supported by competent evidence. Respondent argues the

       finding is “solely a recital of the children’s therapist[’s] testimony” which was “clearly

       hearsay and does not fall within any exception.” We disagree. Contrary to

       respondent’s assertion, finding of fact 18(4) does not recite the therapist’s testimony.

       The trial court specifically found that Sarah has no memory of respondent and that

       he is a stranger to her, and that George has some memory of respondent but does not
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       have a bond with him. The trial court further found that the guardian ad litem (GAL)

       and the therapist “provided testimony in this regard,” and that it found “such

       testimony to be credible.” The finding demonstrates that the trial court considered

       the testimony of the GAL and the therapist, determined their testimony was credible,

       and made an independent finding regarding the children’s bond with respondent

       based on that testimony. See In re D.L.W., 368 N.C. at 843 (stating that it is the trial

       court’s duty to consider all of the evidence, pass upon the credibility of the witnesses,

       and determine the reasonable inferences to be drawn therefrom). Moreover, N.C.G.S.

       § 7B-1110(a) specifically allows the consideration of hearsay evidence in determining

       a child’s best interests. N.C.G.S. § 7B-1110(a). Therefore, the trial court’s finding is

       supported by competent evidence.

¶ 27         Respondent next challenges the portions of finding of fact 18(5) stating that he

       willfully abdicated his parenting role to petitioners since October 2011. Respondent

       argues he did not make “a conscious and intentional decision to avoid his parental

       role” but rather that “he made the very difficult decision to put the safety of the minor

       children first before all other things.” Therefore, he argues, this finding is not

       supported. However, as discussed previously, the trial court’s findings demonstrate

       that respondent had no contact with the children for five and one-half years despite

       having the ability to do so. The trial court weighed the credibility of respondent’s

       testimony and ultimately found that respondent willfully abandoned the children.
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       Based on the evidence presented, the trial court made the reasonable inference that

       respondent abdicated his parenting role to petitioners by having no contact or

       involvement in the children’s lives for over five years. We conclude that this finding

       is sufficiently supported by competent evidence.

¶ 28         Lastly, respondent challenges finding of fact 18(6) as not supported by

       competent evidence because the trial court relied heavily on the GAL’s report and

       testimony. Respondent argues the GAL “did little to investigate [respondent],” did

       not visit his home or speak to his fiancée, and relied heavily on the therapist’s opinion

       in writing her report. Respondent’s challenge to the finding raises the question of

       whether the GAL had a sufficient basis for her testimony and is a challenge to the

       GAL’s credibility as a witness. However, it is the duty of the trial court to determine

       the weight and credibility of the evidence. In re A.R.A., 373 N.C. at 196. The trial

       court specifically found the testimony of the GAL and the therapist to be credible.

       Therefore, we conclude that there was sufficient competent evidence in the record to

       support this finding.

¶ 29         Respondent further contends the trial court abused its discretion in

       determining that termination of his parental rights was in the children’s best

       interests. He argues that the findings of fact in this case are “almost identical” to the

       findings of fact found in Bost v. Van Nortwick, 117 N.C. App. 1 (1994), where the

       Court of Appeals determined the trial court abused its discretion in terminating the
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       respondent-father’s parental rights.

¶ 30          In Bost, the trial court concluded that

                     [g]iven that the children are thriving under their present
                     circumstances, the presence of a complete family structure
                     able to meet the emotional and economic needs of the
                     children, the expressed desire of the children not to see
                     their father, their desire to be adopted by Jim Bost and the
                     pain and disruption involved with any attempt at
                     reestablishing a relationship, the [c]ourt finds as a fact that
                     it would not be in the best interest of the children to follow
                     the Guardian Ad Litem’s reccommendations [sic] and
                     furthermore that termination is in their best interest.

       Id. at 8 (alterations in original).

¶ 31          Respondent argues that here, similarly, the trial court found that Sarah

       expressed that she “wants no relationship whatsoever with the Respondent”; that

       George “later expressed fears and concerns for having his place of residence and way

       of life changed in any way because of the Respondent”; that the children have a close

       and loving relationship with petitioners “who have provided for all of the child[ren’s]

       educational, emotional, physical and financial needs, with little to no contribution

       from either parent, since October 2011”; and that the therapist testified the children

       were concerned about their placement with petitioners being disrupted. He argues

       that these findings “were found to be insufficient by the Court [of Appeals] in Bost

       and the decision to terminate ‘in light of the paramount rights of the natural parent

       to help raise and support his children’ was found to be an abuse of discretion,” quoting

       Bost, 117 N.C. App. at 13. Thus, he contends the same standard should apply in this
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       case.

¶ 32           However, Bost is distinguishable from the present case. First, the Court of

       Appeals in Bost stated that “a finding that the children are well settled in their new

       family unit . . . does not alone support a finding that it is in the best interest of the

       children to terminate respondent’s parental rights.” Bost, 117 N.C. App. at 8
       (emphasis added). Here, however, the finding that the children were doing well with

       petitioners was not the sole support for the trial court’s conclusion that termination

       was in the children’s best interests. Second, while the respondent-father in Bost once

       had been unable to maintain employment or relationships with the children because

       he was an alcoholic, the evidence also showed that the respondent-father had ceased

       using alcohol a couple of years before the petition to terminate his parental rights

       was filed, had paid large sums of back child support, and had begun to visit the

       children. Id. at 5–6. In contrast, here respondent had not had any contact with the

       children, had not provided any support for the children, and had not shown any desire

       to be a part of the children’s lives from December 2013 until two weeks before the

       filing of the petition to terminate parental rights on 16 July 2019. Finally, in Bost,

       the GAL and the court-appointed psychologist thought it in the best interests of the

       children to not terminate the respondent-father’s parental rights. Id. at 9. In the

       present case, the GAL recommended that it would be in in the children’s best

       interests to terminate respondent’s parental rights. These are all significant
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       distinctions that explain why the ultimate conclusion by the trial court in this case is

       not an abuse of discretion.

¶ 33         The trial court’s findings demonstrate that it considered the relevant factors

       under N.C.G.S. § 7B-1110(a) and made a reasoned decision based on those findings.

       Specifically, the trial court made findings regarding the children’s ages; the pending

       civil custody action filed by petitioners; the children’s lack of a bond with respondent

       after his five and one-half year absence; the children’s “close and loving relationship”

       with petitioners “who have provided for all of the child[ren’s] education, emotional,

       physical and financial needs”; and the negative psychological impact on the children

       from respondent’s sudden return into their lives. These findings, along with the trial

       court’s other findings of fact, support its conclusion that termination of respondent’s

       parental rights was in the children’s best interests.

                      III.   Ineffective Assistance of Counsel Claim

¶ 34         Lastly, respondent contends he received ineffective assistance of counsel at the

       termination hearing. Respondent argues his trial counsel was ineffective because she

       failed to make any objections during the termination hearing and failed to introduce

       any evidence of petitioners’ “retaliatory seeking [of] an Ex Parte Custody Order

       against [respondent]” or of DHS’s investigation of the mother. Specifically,

       respondent argues his counsel failed to object to the introduction of the temporary

       custody order into evidence and failed to make any hearsay objections, most notably
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       during the testimony of the children’s therapist. Respondent asserts that “[g]iven the

       constitutionally protected rights at issue, [he] was denied a fair hearing as a result of

       his trial counsel’s failure to perform at an objectively reasonable standard.”

¶ 35         “Parents have a right to counsel in all proceedings dedicated to the termination

       of parental rights.” In re L.C., 181 N.C. App. 278, 282 (cleaned up) (quoting In re

       Oghenekevebe, 123 N.C. App. 434, 436 (1996)), disc. review denied, 361 N.C. 354
       (2007); see also N.C.G.S. § 7B-1101.1 (2019). “Counsel necessarily must provide

       effective assistance, as the alternative would render any statutory right to counsel

       potentially meaningless.” In re T.N.C., 375 N.C. 849, 854 (2020). “To prevail on a

       claim of ineffective assistance of counsel, respondent must show that counsel’s

       performance was deficient and the deficiency was so serious as to deprive [him] of a

       fair hearing.” Id. at 33 (cleaned up) (quoting In re Bishop, 92 N.C. App. 662, 664
       (1989)). “To make the latter showing, the respondent must prove that ‘there is a

       reasonable probability that, but for counsel’s errors, there would have been a different

       result in the proceedings.’ ” In re T.N.C., 375 N.C. at 854 (quoting State v. Braswell,

       312 N.C. 553, 563 (1985)); see also In re S.C.R., 198 N.C. App. 525, 531 (“A parent

       must also establish he suffered prejudice in order to show that he was denied a fair

       hearing.”), appeal dismissed, 363 N.C. 654 (2009). Respondent has made no showing

       that he was prejudiced as a result of his counsel’s alleged deficient performance. See

       In re Dj.L., 184 N.C. App. 76, 87 (2007) (an ineffective assistance claim is meritless
                                      IN RE G.G.M. AND S.M.

                                             2021-NCSC-25

                                         Opinion of the Court



       when “[i]t is difficult to see a defense on which respondent could have prevailed, and

       respondent cites no such theory on appeal.”). In this case, respondent has failed to

       show that any of the alleged deficiencies in his counsel’s performance or conduct,

       whether taken alone or collectively, would have resulted in a different outcome.

       Therefore, respondent cannot prevail on his claim of ineffective assistance of counsel.

                                       IV.    Conclusion

¶ 36         The trial court did not err in concluding that respondent’s parental rights were

       subject to termination based on willful abandonment; nor did the trial court abuse its

       discretion by concluding that termination of respondent’s parental rights was in the

       children’s best interests. Respondent also failed to show he received ineffective

       assistance of counsel at the termination hearing. Accordingly, we affirm the trial

       court’s orders terminating his parental rights to George and Sarah.

             AFFIRMED.
